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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

AIRWAY LEASING. LLC,
Plaintitf

Vv.

MTGLQ INVESTORS, L.P.; TRUIST

BANK; MORTAGGE ELECTRONIC

REGISTRATION SYSTEMS, INC.;

and FEDERAL NATIONAL

MORTGAGE ASSOCIATION,
Defendant.

C.A. No. 18-cv-516-JJM-PAS

 

 

MTGLQ INVESTORS, L.P.,
Third-Party Plaintiff,

Vv.

ROCCO A. DELUCA, II; ANN-MARIE

DELUCA a/k/a ANN MARIE K.

DELUCA; and R.J.R. REALTY CO.,
Third-Party Defendants.

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ORDER
Before the Court are two Motions for Summary Judgment (ECF No. 106 (by
Defendants Mortgage Electronic Registration Systems, Inc. (‘MERS”) and Truist
Bank) and ECF No. 109 (by MTGLQ Investors, L.P.)). Also before the Court are two
Reports and Recommendations (“R&R”) by Magistrate Judge Patricia A. Sullivan
recommending that the Court grant the two summary judgment motions. Plaintiff
Airway Leasing has objected to the two R&R’s (ECF No. 117), and the Defendants

replied. ECF Nos. 123 and 124.
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All parties admitted the facts are not in dispute (“Plaintiff does not dispute the
recitation of facts in either Defendants MTGLQ or Truist Bank’s respective
Statement of Undisputed Facts, which are concisely set forth in the R&R.” ECF No.
117 at 5.). So, the sole question before the Court is whether the Defendants/Third-
Party Plaintiffs are entitled to judgment as a matter of law.

The Court determines that the Defendants and Third-Party Plaintiff are
entitled to judgment as a matter of law for the reasons and rationale set forth in the
two R&Rs. The Court therefore finds that:

1. MTGLQ has definitively established that the mortgage held by MTGLQ on the
property at 721 Woodward Road, North Kingstown, R.L., is valid, viable, and
enforceable. The Court grants the relief sought by MTGLQ in Count II of its
counterclaim — a judicial declaration confirming the interest of MTGLQ in the
real estate as the holder of the mortgage, which is valid and enforceable; and

2. The Court GRANTS the Motion for Summary Judgment (ECF No. 106).
Judgment shall enter in favor of Truist Bank and Mortgage Electronic
Registration Systems, Inc. against Airway Leasing, LLC and against the
Third-Party Defendants Rocco A. Deluca, II and Ann-Marie Deluca; and

3. The Court GRANTS the Motion for Summary Judgment (ECF No. 109).
Judgment shall enter in favor of MTGLQ against all claims by Airway Leasing,
LLC; and

4. The Court dismisses with prejudice all claims against Federal National

Mortgage Association and R.J.R. Realty Co. for lack of prosecution.
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IT IS SO ORDERED f

 

 

John J. McConnell, Jr. Ok
Chief United States District Judge

May 12, 2021
